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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

IN RE MUSHROOM DIRECT                        :              Master File NO. 06-0620
PURCHASER ANTITRUST                          :
LITIGATION                                   :
                                             :
THIS DOCUMENT RELATES TO                     :
All Actions                                  :

                                            ORDER

       AND NOW, this 27th of August, 2015, upon consideration of opt-out plaintiffs’ motion to

exclude the expert testimony of Dr. Rigoberto Lopez offered on behalf of defendant M.D.

Basciani (Dkt. No. 641), M.D. Basciani’s response (Dkt. No. 654), plaintiffs’ reply (Dkt. No.

657) and consistent with the accompanying memorandum of law, it is ORDERED that plaintiffs’

motion is GRANTED in part and DENIED in part as explained in the accompanying

memorandum of law.

       It is FURTHER ORDERED that, because this Order and the accompanying

memorandum of law may contain confidential information, they have been filed under seal

pending review by the parties to permit the parties to meet and confer and propose a single

jointly redacted version of the Order and the accompanying memorandum of law. On or before

September 21, 2015, the parties shall provide the Court with any proposed redacted Order and

accompanying memorandum of law or shall inform the Court that no redactions are required.

Thereafter, the Court will issue a publicly-available version of this Order and the accompanying

memorandum of law.



                                                        s/Thomas N. O’Neill, Jr.
                                                    THOMAS N. O’NEILL, JR., J.
